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                        IN THE UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF COLUMBIA



 WEST FLAGLER ASSOCIATES, LTD.,
 d/b/a MAGIC CITY CASINO, and BONITA-
 FORT MYERS CORPORATION, d/b/a
 BONITA SPRINGS POKER ROOM,

                                 Plaintiffs,
 vs.                                           Case No. 1:21-cv-02192-DLF

 DEB HAALAND, in her official capacity as
 SECRETARY OF THE UNITED STATES
 DEPARTMENT OF THE INTERIOR and
 UNITED STATES DEPARTMENT OF THE
 INTERIOR,

                         Defendants.


                                       [PROPOSED] ORDER

        Upon consideration of the Motion for Leave to File Response to Amicus Curiae Brief of

the State of Florida, it is hereby:

        ORDERED that Plaintiffs’ Motion for Leave to File Response to Amicus Curiae Brief of

        the State of Florida is GRANTED.

                                                  SO ORDERED.

Date: _____________________                       __________________________________

                                                  The Honorable Dabney L. Friedrich
                                                  United States District Judge
